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               EXHIBIT 13
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


RICHARD ROSARIO,

                   Plaintiff,

     -against-
                                                    l 8-cv-4023 (LGS)
 THE CITY OF NEW YORK, et al.,


                 Defendants.



                           DECLARATION OF KATHERINE HAAS

KATHERINE HAAS, an attorney admitted to practice in the State of New York and the Southern

District of New York, submits this declaration under penalty of perjury:

    1. From October 2020 until August 2022, I was employed as a fellow at the firm Neufeld

        Scheck & Brustin, LLP, ("NSB") with offices at 99 Hudson Street, 8th Floor, New York,
        New York 10013.

    2. I make this declaration in support of an application for attorneys' fees pursuant to 42
        U.S.C. § 1988, covering the hours I expended on this matter. I am fully familiar with the
        facts discussed herein.

                                  EDUCATION AND EXPERIENCE
    3. I graduated from Yale Law School in 201 7. After graduating, I clerked for Hon. Sidney

       H. Stein in the U.S. District Court for the Southern District of New York. Following my

        clerkship, I was a legal fellow at the American Civil Liberties Union of New Jersey for

        two years before I began my fellowship at NSB in 2020. My resume is attached as Exhibit
        A.

    4. During my time at NSB, I worked primarily on 42 U.S.C. § 1983 civil rights litigation in
        federal courts around the country. My practice focused on wrongful conviction cases such
        as Richard Rosario's, involving lawsuits against police for unconstitutional misconduct.

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   This body of law, arising at the intersection of criminal procedure and civil rights, is

   relatively new and constantly evolving. To my knowledge, NSB is the only firm in the

   nation litigating these issues full time.

5. Generally, all these cases involve procedural defenses such as absolute and qualified

   immunity and requii:e a nuanced understanding of the differences between what it takes to

   vacate a criminal conviction and the elements of civil liability. In addition, the cases

   typically involve the same sets of claims,, including for fabrication of evidence, Brady, and

   malicious prosecution, and involve similarly flawed inculpatory evidence, including

   misidentifications caused by suggestive identification procedures. My focus on these

   issues during my time at NSB, as well as access to NSB's collective knowledge derived

   from litigating these cases for over twenty years, made my work on this case much more

   efficient than it otherwise would have been.
6. On behalf of Plaintiff, I am seeking compensation for my work at a rate of $400 an hour.

   In my opinion, this requested rate is reasonable in light of the relevant market and my
   experience and skill.

                                      WORK IN THIS CASE
7. I am seeking compensation, on behalf of Plaintiff, for the time I spent on this matter from

   January 2021 to August 2022.

8. Under the guidance of my senior colleagues, Emma Freudenberger, Nick Brustin, and

   Anna Benvenutti Hoffmann, I drafted motions in limine, supervised the paralegals and

   interns in the case, helped prepare for trial, drafted pretrial materials, drafted various letters
   to the Court, prepared exhibits for trial, met and coordinated with witnesses and experts,

   and participated in Court pretrial conferences. During trial, I was heavily involved in
   preparing each day and drafting motions and letters to the Court, in addition to preparing,
   organizing, and setting up trial exhibit display.




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   9. As se t forth in the      billing re cords attache d as Exhibit B, which come            from

       conte mporane ously ke pt time ke e ping logs, I am se e king compe nsation for a total of

       663.4 attorney hours in this matter.

   10. I have reviewed the attached billing re cord in its e ntire ty, and made an e ffort to take a

       conservative and reasonable approach to the total hours for which I seek compensation. In

       my judgment, each hour set forth in Exhibit B was necessitated by the circumstances and

       reasonably expended in pursuit of the ultimate favorable outcome in this complicated and

       important civil rights case.

   11. I hereby declare under penalty of perjury that the foregoing is true.


Date: October 5, 2022



                                                    1Wv £ �
      New York, NY


                                                     KATHERINE HAAS




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               EXHIBIT A
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Katherine Haas

EDUCATION AND BAR ADMISSIONS

Yale Law School, New Haven, CT
Juris Doctor, May 2017
Activities:      Rebellious Lawyering Conference (2016: Co-Director, 2015: Panel Organizer); International
                 Refugee Assistance Project (2014–16)

Yale University, New Haven, CT
B.A. cum laude with distinction in History, May 2012
Honors:          Arthur Liman Public Interest Program, Summer 2011 Undergraduate Fellow
                 Max Bildner Prize in Latin American History, for best senior essay in that subject area
                 Saybrook Head of College’s Prize, awarded by head of college for general achievements

Bar Admissions: New York, New Jersey

EXPERIENCE

Neufeld Scheck & Brustin, LLP, New York, NY
2020 – 2022: Johnnie L. Cochran, Jr. Civil Rights Fellow
    Represented formerly incarcerated clients across the country in Section 1983 wrongful conviction cases
        against police officers, with a focus on claims of fabrication of evidence, use of suggestive identification
        procedures, Brady violations, and malicious prosecution
    Drafted numerous filings including complaints, briefs, motions in limine, and proposed jury instructions
    Appeared in hearings and conferences before both federal and state courts, including arguing for the
        admissibility of trial exhibits in the Southern District of New York, arguing a discovery dispute before a
        federal Magistrate Judge, and arguing a motion before the New York State Court of Claims
    Developed skills in all aspects of discovery, including written discovery, depositions, production of
        documents, analysis of privilege issues, and efficient review of voluminous documentation produced by
        opposing parties
    Participated in preparation for civil rights trial in the Southern District of New York, including crafting
        direct examinations of witnesses and managing documentary evidence
    Managed communications with opposing counsel, including during settlement negotiations and discovery
        disputes

American Civil Liberties Union of New Jersey, Newark, NJ
2018 – 2020: Law Fellow
    Brought emergency litigation on behalf of immigrants detained in New Jersey county jails at the start of
        the COVID-19 pandemic, drafted initial petitions and briefs in support of motions seeking temporary
        restraining orders for their immediate release, and participated in argument on those motions before the
        United States District Court for the District of New Jersey
    Gathered facts and developed litigation strategy for a constitutional challenge to the use of solitary
        confinement in immigration detention in New Jersey county jails through legal research and analysis,
        interviews with potential clients, and public records requests
    Took part in drafting a proposed county ordinance to create a civilian oversight body that included
        formerly incarcerated people at the Essex County Correctional Facility, and successfully secured its
        passage through both public advocacy and private lobbying of political actors




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        Drafted amicus briefs and argued twice before the New Jersey Supreme Court and once before the New
         Jersey Appellate Division on issues including the right to counsel in administrative child abuse
         proceedings and the Ex Post Facto implications of amendments to Megan’s Law
        Researched and crafted Monell claim against a New Jersey municipality that held a United States citizen
         in custody under an ICE detainer, and co-drafted resulting complaint
        Co-drafted amicus briefs in Ocean County v. Grewal and United States v. Grewal, arguing that the New
         Jersey Attorney General’s Immigrant Trust Directive limiting state and local law enforcement
         cooperation with ICE could not be preempted by federal statutes due to constitutional anti-
         commandeering principles

Hon. Sidney H. Stein, U.S. District Court for the Southern District of New York, New York, NY
2017 – 2018: Law Clerk
    Performed legal research, writing, and various other tasks to support Judge Stein’s work

Worker and Immigrant Rights Advocacy Clinic, Yale Law School
2015 – 2017: Law Student Intern
    Worked on multiple federal claims related to immigrants’ rights, including a Federal Tort Claims Act
        case regarding the detention of an asylum-seeking woman and her child, a potential Rehabilitation Act
        claim regarding family detention practices at the border, and a challenge to the Trump administration’s
        first travel ban
    Participated in immigrants’ rights cases before administrative bodies and state courts, including a removal
        defense case before the Board of Immigration Appeals, and a state petition for a writ of habeas corpus
        based on the Supreme Court’s decision in Padilla v. Kentucky
    Visited immigration detention center to provide deportation defense advice and know-your-rights
        presentations
    Drafted briefs and motions, researched and wrote legal memoranda, and engaged in client counseling

New York Civil Liberties Union, New York, NY
May 2016 – July 2016: Law Student Intern
    Researched and wrote memoranda in support of litigation, including a federal case challenging the use of
       solitary confinement for incarcerated children
    Worked closely with supervising attorney to draft filings in administrative case regarding immigrant
       access to public education

Prisoners’ Legal Services of Massachusetts, Boston, MA
May 2015 – August 2015: Law Student Intern
     Researched and wrote legal memoranda in support of litigation to protect the rights of Massachusetts
       prisoners
     Visited state prison facilities and a jail to interview clients and witnesses to troubling incidents
     Drafted advocacy letters to prison officials on behalf of individual clients

American Civil Liberties Union, National Office, New York, NY
2012 – 2014: Legal Assistant, Paralegal
    Conducted research, drafted documents such as public records requests, and performed administrative
        tasks for the ACLU’s Speech, Privacy & Technology Project and Human Rights Program




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                                                                ALL HOURS
Date       Person       Client            Activity         Description                                              Duration Time Totals
 22-Jan-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma, Anna, Nick, Kayla, and Chip                  0:30          0.5
 22-Jan-21 Katie Haas   Rosario (Richard) Phone Call       Call with Nick, Emma, Anna and Rick re Daubert motions       0:18          0.3
 10-Feb-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma and Nick re: trial prep                       0:18          0.3
 12-Feb-21 Katie Haas   Rosario (Richard) Phone Call       Call with potential consultants and follow-up                0:45          0.8
 17-Feb-21 Katie Haas   Rosario (Richard) Review           Review case documents and media reports                      2:30          2.5
 18-Feb-21 Katie Haas   Rosario (Richard) Review           Review case documents and media reports                      1:30          1.5
                                                           Call with Nick, Anna, Emma, and Kayla re trial prep, and
 18-Feb-21 Katie Haas   Rosario (Richard) Meeting          follow up call with Kayla                                    1:09          1.2
 22-Feb-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma and Kayla re trial prep                       0:30          0.5
 24-Feb-21 Katie Haas   Rosario (Richard) Correspondence Internal correspondence re status conference                   0:15          0.3
 25-Feb-21 Katie Haas   Rosario (Richard) Court appearance Status conference                                            0:21          0.4
 25-Feb-21 Katie Haas   Rosario (Richard) Meeting          Meeting with jury advisors                                   1:00          1.0
 26-Feb-21 Katie Haas   Rosario (Richard) Phone Call       Call with Kayla and Anna re trial prep                       0:18          0.3
  2-Mar-21 Katie Haas   Rosario (Richard) Draft            Create filing checklist                                      1:45          1.8
  2-Mar-21 Katie Haas   Rosario (Richard) Phone Call       Call to Bard Prison Project                                  0:06          0.1
  3-Mar-21 Katie Haas   Rosario (Richard) Correspondence Emails to potential witnesses                                  0:09          0.2
  5-Mar-21 Katie Haas   Rosario (Richard) Review           Revise  filing checklist                                     0:15          0.3
  9-Mar-21 Katie Haas   Rosario (Richard) Review           Review Daubert motion                                        0:30          0.5
                                                           Meeting with Nick, Anna, Emma, Bettina, Kayla re Daubert
 9-Mar-21 Katie Haas    Rosario (Richard) Meeting          response                                                     0:18          0.3
10-Mar-21 Katie Haas    Rosario (Richard) Phone Call       Call with Anna re jury instructions                          0:12          0.2
                                                           Call with Anna, Emma, Bettina, Katie M., and Kate re
12-Mar-21 Katie Haas    Rosario (Richard) Meeting          motions in limine                                            0:42          0.7
16-Mar-21 Katie Haas    Rosario (Richard) Draft            Adding claims to pretrial order                              0:45          0.8
17-Mar-21 Katie Haas    Rosario (Richard) Draft            Adding claims to pretrial order                              0:30          0.5
21-Mar-21 Katie Haas    Rosario (Richard) Review           Cite check   and  proofread Daubert opposition               3:00          3.0
22-Mar-21 Katie Haas    Rosario (Richard) Review           Cite check and proofread Daubert opposition                  1:00          1.0
23-Mar-21 Katie Haas    Rosario (Richard) Draft            Draft motion to strike                                       1:30          1.5
23-Mar-21 Katie Haas    Rosario (Richard) Meeting          Meet  and   confer with opposing  counsel                    0:39          0.7
24-Mar-21 Katie Haas    Rosario (Richard) Phone Call       Call with Bettina and Anna re Daubert reply brief            0:18          0.3
25-Mar-21 Katie Haas    Rosario (Richard) Phone Call       Call with Emma and potential damages witness                 0:30          0.5
31-Mar-21 Katie Haas    Rosario (Richard) Meeting          Meeting   with  jury consultant group                        0:24          0.4
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 2-Apr-21 Katie Haas    Rosario (Richard) Draft            Draft jury instructions                                        2:30   2.5
 3-Apr-21 Katie Haas    Rosario (Richard) Draft            Draft jury instructions                                        3:00   3.0
 4-Apr-21 Katie Haas    Rosario (Richard) Draft            Draft jury instructions                                        1:30   1.5
 5-Apr-21 Katie Haas    Rosario (Richard) Draft            Draft jury instructions                                        5:00   5.0
 8-Apr-21 Katie Haas    Rosario (Richard) Phone Call       Call with potential witness                                    0:06   0.1
 8-Apr-21 Katie Haas    Rosario (Richard) Meeting          Meeting with Emma and Kayla                                    0:30   0.5
 8-Apr-21 Katie Haas    Rosario (Richard) Draft            Revise jury instructions                                       1:30   1.5
 9-Apr-21 Katie Haas    Rosario (Richard) Phone Call       Call with Anna, Emma, and Nick re jury instructions            0:36   0.6
12-Apr-21 Katie Haas    Rosario (Richard) Deposition       Minerva deposition                                             3:00   3.0
13-Apr-21 Katie Haas    Rosario (Richard) Draft            Revise and finalize jury instructions                          2:00   2.0
14-Apr-21 Katie Haas    Rosario (Richard) Draft            Revise and finalize jury instructions                          1:30   1.5
14-Apr-21 Katie Haas    Rosario (Richard) Draft            Draft verdict sheet                                            1:30   1.5
15-Apr-21 Katie Haas    Rosario (Richard) Draft            Revise and finalize jury instructions                          0:30   0.5
15-Apr-21 Katie Haas    Rosario (Richard) Review           Review digests of Richard testimony                            1:00   1.0
16-Apr-21 Katie Haas    Rosario (Richard) Review           Review digests of Richard testimony                            2:30   2.5
16-Apr-21 Katie Haas    Rosario (Richard) Phone Call       Call with Anna and Emma re motions in limine                   0:45   0.8
                                                           Call re voir dire with Emma, Nick, Anna, Yasmin, Kayla,
19-Apr-21 Katie Haas Rosario (Richard) Meeting             Jahne                                                          1:30   1.5
22-Apr-21 Katie Haas Rosario (Richard) Draft               Draft motion in limine                                         2:30   2.5
3-May-21 Katie Haas Rosario (Richard) Draft                Draft letter to court re trial dates                           0:24   0.4
                                                           Email to opposing counsel re, finalizing, and supervising
 4-May-21 Katie Haas    Rosario (Richard) Filing           filing of letter to court                                      0:15   0.3
18-May-21 Katie Haas    Rosario (Richard) Meeting          Mtg with Anna and Emma re pretrial deadlines                   0:15   0.3
18-May-21 Katie Haas    Rosario (Richard) Phone Call       Call to witness re scheduling                                  0:09   0.2
18-May-21 Katie Haas    Rosario (Richard) Meeting          Meeting with Nick and Emma re Rosario priorities               0:15   0.3
20-May-21 Katie Haas    Rosario (Richard) Phone Call       Call with witness re scheduling                                0:06   0.1
                                                           Internal emails and emails with opposing counsel re
27-May-21 Katie Haas    Rosario (Richard) Correspondence   scheduling                                                     0:30   0.5
27-May-21 Katie Haas    Rosario (Richard) Phone Call       Call with Emma and opposing counsel                            0:12   0.2
28-May-21 Katie Haas    Rosario (Richard) Draft            Draft letter motion for extension                              0:30   0.5
  2-Jun-21 Katie Haas   Rosario (Richard) Correspondence   Emails to experts                                              0:09   0.2
  4-Jun-21 Katie Haas   Rosario (Richard) Correspondence   Emails with opposing counsel and internal call re scheduling   0:15   0.3
                                                           Call witnesses and emails to opposing counsel re scheduling
 10-Jun-21 Katie Haas Rosario (Richard) Correspondence     deps                                                           0:15   0.3
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10-Jun-21 Katie Haas   Rosario (Richard) Meeting          limine                                                      0:42   0.7
10-Jun-21 Katie Haas   Rosario (Richard) Meeting          Meeting with jury consultants                               0:15   0.3
11-Jun-21 Katie Haas   Rosario (Richard) Draft            Draft letter-motion for extension of time                   1:00   1.0
14-Jun-21 Katie Haas   Rosario (Richard) Correspondence   Emails to opposing counsel                                  0:12   0.2
14-Jun-21 Katie Haas   Rosario (Richard) Draft            Motion for extensions of time                               0:24   0.4
15-Jun-21 Katie Haas   Rosario (Richard) Phone Call       Call re Rosario motions in limine with Anna and Christina   0:21   0.4
16-Jun-21 Katie Haas   Rosario (Richard) Correspondence   Email to opposing counsel                                   0:06   0.1
16-Jun-21 Katie Haas   Rosario (Richard) Draft            Revisions to motion in limine                               1:30   1.5
17-Jun-21 Katie Haas   Rosario (Richard) Draft            Revisions to motion in limine                               1:00   1.0
21-Jun-21 Katie Haas   Rosario (Richard) Draft            Draft motions in limine                                     4:00   4.0
21-Jun-21 Katie Haas   Rosario (Richard) Phone Call       Rosario team call re motions in limine                      0:45   0.8
22-Jun-21 Katie Haas   Rosario (Richard) Draft            Draft motions in limine                                     3:00   3.0
23-Jun-21 Katie Haas   Rosario (Richard) Draft            Draft motions in limine                                     7:30   7.5
24-Jun-21 Katie Haas   Rosario (Richard) Draft            Draft motions in limine                                     8:00   8.0
25-Jun-21 Katie Haas   Rosario (Richard) Review           Reviews Defs' motions in limine                             0:30   0.5
                                                          Call with Anna, Emma, Christina, Rhianna, Bianca re MIL
25-Jun-21 Katie Haas   Rosario (Richard) Phone Call       responses                                                   0:36   0.6
 6-Jul-21 Katie Haas   Rosario (Richard) Prep             Dep scheduling coordination                                 0:09   0.2
 6-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma and Kayla re stipulations                    0:09   0.2
 7-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma re motion in limine response                 0:09   0.2
 7-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft response to MIL                                       3:00   3.0
 7-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma and Anna re motion in limine                 0:12   0.2
 8-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Nick re motion in limine response                 0:06   0.1
 8-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft response to MIL                                       0:30   0.5
                                                          Internal emails and email with opposing counsel re
 9-Jul-21 Katie Haas Rosario (Richard) Correspondence     extension request                                           0:09   0.2
                                                          Supervise providing full dep transcripts to court under
 9-Jul-21 Katie Haas Rosario (Richard) Review             individual rules                                            0:18   0.3
13-Jul-21 Katie Haas Rosario (Richard) Review             Revise and finalize response to motions in limine           2:30   2.5
14-Jul-21 Katie Haas Rosario (Richard) Review             Review and finalize MIL response                            5:00   5.0
                                                          Gathering and reviewing complete transcripts for email
14-Jul-21 Katie Haas Rosario (Richard) Documentation      submission to court                                         2:00   2.0
15-Jul-21 Katie Haas Rosario (Richard) Correspondence     Organize and send complete dep transcripts to chambers      1:00   1.0
15-Jul-21 Katie Haas Rosario (Richard) Filing             Re-file declaration and exhibits                            1:30   1.5
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                                                           Internal emails with opposing counsel re deadlines and
 15-Jul-21 Katie Haas   Rosario (Richard) Correspondence   pretrial materials                                             0:12   0.2
 19-Jul-21 Katie Haas   Rosario (Richard) Prep             Dep prep call with witness                                     1:00   1.0
 19-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma and Anna re scheduling                          0:12   0.2
 19-Jul-21 Katie Haas   Rosario (Richard) Correspondence   Email to opposing counsel                                      0:06   0.1
 22-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft extension request                                        0:30   0.5
 23-Jul-21 Katie Haas   Rosario (Richard) Correspondence   Back and forth with opposing counsel re extension request      0:15   0.3
 24-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft motion in limine                                         1:30   1.5
 25-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft/revise motion in limine                                  3:00   3.0
 26-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Anna re MIL draft                                    0:24   0.4
 27-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft/revise motion in limine                                  1:00   1.0
 28-Jul-21 Katie Haas   Rosario (Richard) Draft            Draft/revise motion in limine                                  3:00   3.0
 28-Jul-21 Katie Haas   Rosario (Richard) Review           Review exhibits to MIL                                         0:15   0.3
 29-Jul-21 Katie Haas   Rosario (Richard) Filing           Finalize and file MIL, declaration, exhibits                   3:00   3.0
 30-Jul-21 Katie Haas   Rosario (Richard) Phone Call       Call with Emma re dep prep                                     0:33   0.6
                                                           Call with witness and Kayla re deposition, and follow up
 6-Aug-21 Katie Haas Rosario (Richard) Phone Call          call with Kayla                                                0:39   0.7
17-Aug-21 Katie Haas Rosario (Richard) Correspondence      Emails with consultants and internal emails                    0:15   0.3
                                                           Review pretrial materials from defendants and send internal
25-Aug-21 Katie Haas    Rosario (Richard) Review           emails                                                         0:36   0.6
25-Aug-21 Katie Haas    Rosario (Richard) Phone Call       Call with Anna and Emma re pretrial materials                  0:30   0.5
25-Aug-21 Katie Haas    Rosario (Richard) Correspondence   Emails with consultants                                        0:06   0.1
26-Aug-21 Katie Haas    Rosario (Richard) Correspondence   Review exhibits and email to court                             0:18   0.3
26-Aug-21 Katie Haas    Rosario (Richard) Review           Review jury questionnaire briefing materials                   0:45   0.8
26-Aug-21 Katie Haas    Rosario (Richard) Meeting          notes                                                          1:00   1.0
27-Aug-21 Katie Haas    Rosario (Richard) Review           Review jury charges from opposing counsel                      0:45   0.8
27-Aug-21 Katie Haas    Rosario (Richard) Phone Call       Call with Anna re pretrial materials                           0:42   0.7
30-Aug-21 Katie Haas    Rosario (Richard) Adminstrative    Asana update                                                   0:06   0.1
 1-Sep-21 Katie Haas    Rosario (Richard) Phone Call       Trial prep call with Emma, Nick, Kayla                         0:18   0.3
 1-Sep-21 Katie Haas    Rosario (Richard) Review           Revise jury questionnaire                                      0:30   0.5
 2-Sep-21 Katie Haas    Rosario (Richard) Draft            Draft opposition to pretrial motion                            5:00   5.0
                                                           Call with Emma and Anahi re trial deposition motion, follow-
 3-Sep-21 Katie Haas Rosario (Richard) Phone Call          up email search                                                0:21   0.4
 3-Sep-21 Katie Haas Rosario (Richard) Phone Call          Calls with Emma and witnesses, follow up tasks                 0:33   0.6
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 3-Sep-21 Katie Haas Rosario (Richard) Documentation   Look for documents, send internal emails                          0:12   0.2
 7-Sep-21 Katie Haas Rosario (Richard) Meeting         Mtg with Emma, Nick, Kayla re JPTO and follow up tasks            2:30   2.5
 7-Sep-21 Katie Haas Rosario (Richard) Draft           Draft portions of JPTO                                            3:00   3.0
                                                       revisions to jury instructions and verdict sheet, internal
 8-Sep-21 Katie Haas Rosario (Richard) Prep            emails                                                            7:30   7.5
 9-Sep-21 Katie Haas Rosario (Richard) Review          Review edits to opposition to pretrial motion, internal emails    0:30   0.5
 9-Sep-21 Katie Haas Rosario (Richard) Phone Call      Call with Kayla re trial exhibits                                 0:18   0.3
                                                       Revise opposition to pretrial motion, legal research, call with
 9-Sep-21 Katie Haas Rosario (Richard) Prep            Kayla, review trial exhibits                                      4:30   4.5
                                                       Meet and confer with opposing counsel and follow up notes
 9-Sep-21 Katie Haas   Rosario (Richard) Phone Call    & tasks                                                           0:30   0.5
10-Sep-21 Katie Haas   Rosario (Richard) Phone Call    Call with Kayla and Emma re JPTO and follow-up notes              0:24   0.4
10-Sep-21 Katie Haas   Rosario (Richard) Draft         Revisions to jury instructions                                    1:00   1.0
10-Sep-21 Katie Haas   Rosario (Richard) Phone Call    Calls with Emma re JPTO                                           0:12   0.2
10-Sep-21 Katie Haas   Rosario (Richard) Phone Call    Call with Kayla re JPTO                                           0:15   0.3
10-Sep-21 Katie Haas   Rosario (Richard) Review        Review and revise JPTO                                            1:30   1.5
13-Sep-21 Katie Haas   Rosario (Richard) Phone Call    Call with Anahi re cite checking opposition brief                 0:06   0.1
13-Sep-21 Katie Haas   Rosario (Richard) Phone Call    Call with Emma re JPTO                                            0:24   0.4
13-Sep-21 Katie Haas   Rosario (Richard) Phone Call    Call with Kayla, Emma re JPTO                                     0:21   0.4
                                                       Revisions to pretrial materials (JPTO, jury instructions,
                                                       verdict sheet), proofreading and filing opposition brief to
                                                       pretrial memoranda, draft and send email to opposing
13-Sep-21 Katie Haas Rosario (Richard) Prep            counsel, internal emails re pretrial materials                    4:30   4.5
14-Sep-21 Katie Haas Rosario (Richard) Draft           Draft and revise letter-motion for extension                      0:36   0.6
                                                       Meet and confer with opposing counsel and Anna re jury
15-Sep-21 Katie Haas Rosario (Richard) Meeting         instructions, verdict sheet                                       1:45   1.8
                                                       Draft and revise motion for jury questionnaire, attached
16-Sep-21 Katie Haas Rosario (Richard) Draft           materials                                                         4:00   4.0
16-Sep-21 Katie Haas Rosario (Richard) Review          Review expert affidavit                                           0:30   0.5
16-Sep-21 Katie Haas Rosario (Richard) Phone Call      Call with Anna, Emma, Nick re pretrial materials                  0:30   0.5
                                                       Draft and revise motion for jury questionnaire, attached
17-Sep-21 Katie Haas Rosario (Richard) Draft           materials                                                         4:30   4.5
20-Sep-21 Katie Haas Rosario (Richard) Filing          Finalize and supervise filing of jury questionnaire motion        3:00   3.0
20-Sep-21 Katie Haas Rosario (Richard) Meeting         Meetings re deadlines, etc. with Anna and Emma                    0:18   0.3
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21-Sep-21 Katie Haas   Rosario (Richard) Adminstrative   Organize and respond to emails                                    0:12   0.2
21-Sep-21 Katie Haas   Rosario (Richard) Research        Research re authentication of records                             0:42   0.7
21-Sep-21 Katie Haas   Rosario (Richard) Phone Call      Call with Kayla re requesting certified records                   0:06   0.1
23-Sep-21 Katie Haas   Rosario (Richard) Phone Call      Call with Brachah and Anna, and follow-up call with Anna          0:12   0.2
23-Sep-21 Katie Haas   Rosario (Richard) Draft           Draft pre-motion letter re jury questionnaire                     1:00   1.0
24-Sep-21 Katie Haas   Rosario (Richard) Draft           Draft pre-motion letter re jury questionnaire                     0:18   0.3
                                                         Research and draft/revise pre-motion letter re trial
27-Sep-21 Katie Haas   Rosario (Richard) Draft           depositions, related calls with Emma, related emails              4:00   4.0
28-Sep-21 Katie Haas   Rosario (Richard) Phone Call      Call with Anna, Emma, Nick, Kayla re voir dire                    0:42   0.7
29-Sep-21 Katie Haas   Rosario (Richard) Review          Review prison letters for potential trial exhibits                4:15   4.3
29-Sep-21 Katie Haas   Rosario (Richard) Review          Review records request, related call with Kayla                   0:12   0.2
30-Sep-21 Katie Haas   Rosario (Richard) Review          Review prison letters for potential trial exhibits                0:30   0.5
                                                         Review emails from opposing counsel; internal emails re
30-Sep-21 Katie Haas Rosario (Richard) Correspondence    responses                                                         0:24   0.4
                                                         Preparing compilation exhibits, including phone calls with
                                                         Emma and Kayla, reviewing and organizing exhibits,
30-Sep-21 Katie Haas Rosario (Richard) Documentation     internal emails, and emails to opposing counsel                   3:00   3.0
                                                         Review draft letter to court from opposing counsel, respond
 1-Oct-21 Katie Haas Rosario (Richard) Correspondence    via email                                                         0:12   0.2
                                                         Revise draft verdict sheet, send to trail team for feedback,
 1-Oct-21 Katie Haas Rosario (Richard) Draft             send to opposing counsel                                          1:00   1.0
                                                         Emails with opposing counsel and internal emails re pretrial
                                                         materials, review and finalize pre-motion letter, review pre-
                                                         trial materials from opposing counsel, call with Kayla re
                                                         editing voir dire, sending voir dire revisions to opposing
 5-Oct-21 Katie Haas Rosario (Richard) Prep              counsel                                                           2:30   2.5
                                                         Pre-trial filngs: review opposing counsel's edits, calls with
                                                         Anna about our edits, entering our edits, internal
 6-Oct-21 Katie Haas Rosario (Richard) Filing            correspondence, correspondence with opposing counsel              7:00   7.0
 7-Oct-21 Katie Haas Rosario (Richard) Filing            Finalize pre-letter motion re trial deps                          0:24   0.4
                                                         Edits to pretrial materials, calls and emails with opposing
                                                         counsel, internal meeting re pretrial materials, finalizing and
 7-Oct-21 Katie Haas Rosario (Richard) Filing            formatting of pretrial materials                                  6:30   6.5
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                                                          Review loan folder, meeting with Kayla re loans, arrange
14-Oct-21 Katie Haas   Rosario (Richard) Loan             call with US Claims                                             0:30   0.5
15-Oct-21 Katie Haas   Rosario (Richard) Loan             Call with Donna Lee and Nick, email to Donna Lee                0:30   0.5
15-Oct-21 Katie Haas   Rosario (Richard) Review           Review response letter re trial deps, chats with Emma           0:18   0.3
21-Oct-21 Katie Haas   Rosario (Richard) Filing           Draft, revise, and file letter to court                         0:48   0.8
                                                          Review court's memo endorsement re ex parte letter and
25-Oct-21 Katie Haas Rosario (Richard) Review             send internal email                                             0:06   0.1
26-Oct-21 Katie Haas Rosario (Richard) Meeting            Emma                                                            1:00   1.0
                                                          Internal emails and email with witness re verifying
28-Oct-21 Katie Haas Rosario (Richard) Correspondence     deposition transcript                                           0:15   0.3
                                                          Emails and phone calls with Anahi (intern) re outlining
29-Oct-21 Katie Haas Rosario (Richard) Phone Call         assignment                                                      0:18   0.3
                                                          Review Maldonado dep errata, internal email, send to
 1-Nov-21 Katie Haas Rosario (Richard) Discovery          opposing counsel                                                0:45   0.8
 3-Nov-21 Katie Haas Rosario (Richard) Correspondence     Email to expert and internal email                              0:06   0.1
 4-Nov-21 Katie Haas Rosario (Richard) Correspondence     Email to expert                                                 0:06   0.1
                                                          Review court's order, search email, internal emails regarding
10-Nov-21 Katie Haas   Rosario (Richard) Review           witnesses                                                       0:30   0.5
15-Nov-21 Katie Haas   Rosario (Richard) Correspondence   Internal emails                                                 0:12   0.2
15-Nov-21 Katie Haas   Rosario (Richard) Draft            draft letter to court re remote testimony and internal emails   0:24   0.4
15-Nov-21 Katie Haas   Rosario (Richard) Review           Review word documents to send to court                          0:21   0.4
                                                          Emails with opposing counsel and internal emails re
15-Nov-21 Katie Haas   Rosario (Richard) Correspondence   transcript designations and request for courtconference         0:30   0.5
16-Nov-21 Katie Haas   Rosario (Richard) Review           Revise letter to court and finalize for filing                  0:18   0.3
19-Nov-21 Katie Haas   Rosario (Richard) Correspondence   Review email from opposing counsel, internal email              0:06   0.1
22-Nov-21 Katie Haas   Rosario (Richard) Review           Review previous digesting work                                  0:15   0.3
22-Nov-21 Katie Haas   Rosario (Richard) Draft            Draft and file letter to court requesting conference            1:00   1.0
                                                          Review motion in limine decision, discuss with Anna, email
23-Nov-21 Katie Haas   Rosario (Richard) Review           to Chip, email to Richard                                       1:00   1.0
24-Nov-21 Katie Haas   Rosario (Richard) Phone Call       Call with opposing counsel                                      0:18   0.3
 1-Dec-21 Katie Haas   Rosario (Richard) Prep             Review deposition digests                                       2:30   2.5
 2-Dec-21 Katie Haas   Rosario (Richard) Prep             Review deposition digests                                       2:30   2.5
 2-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Call with Anna, Emma, Nick, Kayla re next steps                 0:09   0.2
 2-Dec-21 Katie Haas   Rosario (Richard) Draft            Draft and revise letter to court                                0:24   0.4
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 5-Dec-21 Katie Haas Rosario (Richard) Prep             Trial outlining                                                    5:00   5.0
 6-Dec-21 Katie Haas Rosario (Richard) Court appearance Pretrial conference                                                1:00   1.0
                                                        Meetings with Emma, Kayla, Nick, Anna re trial prep and
 6-Dec-21 Katie Haas Rosario (Richard) Meeting          follow up tasks                                                    2:00   2.0
 6-Dec-21 Katie Haas Rosario (Richard) Draft            Draft motion for reconsideration re trial time                     3:00   3.0
                                                        Trial prep (meeting re exhibits with Anna, Emma, Nick,
                                                        Kayla; meeting with Cam and Kayla; reviewing exhibits;
 7-Dec-21 Katie Haas Rosario (Richard) Prep             call with opposing counsel; call with witness, etc.)               8:30   8.5
                                                        Trial prep - emailing experts, reviewing exhibits with
                                                        redactions, revising exhibit list, sharing exhibits with
                                                        opposing counsel, draft subpoenas and cover letters, emails
 8-Dec-21 Katie Haas Rosario (Richard) Prep             with investigator re service                                       6:30   6.5
                                                        Revise objections to defendants' exhibits, revise our exhibit
                                                        list, review exhibits and redactions, draft witness subpoena
 9-Dec-21 Katie Haas Rosario (Richard) Prep             and cover letter, review prior witness testimony                   6:30   6.5
                                                        Mtg with Nick, Emma, Anna, Cam, Gerardo re trial prep,
 9-Dec-21 Katie Haas Rosario (Richard) Meeting          follow up mtg with Cam and Gerardo                                 2:30   2.5
10-Dec-21 Katie Haas Rosario (Richard) Correspondence Email to Richard, email to investigator                              0:12   0.2
                                                        Review and revise exhibits and exhibit list, create excerpt
10-Dec-21 Katie Haas Rosario (Richard) Prep             exhibits, phone calls with Emma and Cam                            6:00   6.0
                                                        Review prior witness testimony and redact for purpose of
11-Dec-21 Katie Haas Rosario (Richard) Review           exhibits                                                           1:30   1.5
11-Dec-21 Katie Haas Rosario (Richard) Digest           Digest defendant's deposition                                      3:30   3.5
11-Dec-21 Katie Haas Rosario (Richard) Correspondence Internal emails re exhibits, emails with opposing counsel            0:48   0.8
                                                        Revise exhibit list, internal emails and calls, emails and calls
12-Dec-21 Katie Haas Rosario (Richard) Prep             with opposing counsel                                              5:00   5.0
                                                        Review and finalize exhibits, exhibit list, cover letter for
13-Dec-21 Katie Haas Rosario (Richard) Review           court submission                                                   3:00   3.0
                                                        Internal emails and emails with opposing counsel re
13-Dec-21 Katie Haas Rosario (Richard) Correspondence incorrect exhibit                                                    0:36   0.6
13-Dec-21 Katie Haas Rosario (Richard) Prep             Deposition designations                                            2:30   2.5
13-Dec-21 Katie Haas Rosario (Richard) Correspondence Internal emails, phone calls, chats                                  0:45   0.8
14-Dec-21 Katie Haas Rosario (Richard) Draft            Draft witness subpoena and cover letter                            0:30   0.5
14-Dec-21 Katie Haas Rosario (Richard) Phone Call       Call with Nick                                                     0:18   0.3
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14-Dec-21 Katie Haas Rosario (Richard) Phone Call         Call with expert witness and follow up email to team         0:12   0.2
14-Dec-21 Katie Haas Rosario (Richard) Loan               Call with Nick and US Claims                                 0:45   0.8
                                                          Review, revise, clean up, finalize motion for
14-Dec-21 Katie Haas   Rosario (Richard) Review           reconsideration of time limits                               4:00   4.0
                                                          Review and pull tasks from Judge's individual trial rules
14-Dec-21 Katie Haas   Rosario (Richard) Review           during COVID                                                 1:00   1.0
14-Dec-21 Katie Haas   Rosario (Richard) Prep             Deposition designations                                      0:30   0.5
                                                          Team meetings with Anna, Emma, Nick, Gerardo, Cam,
15-Dec-21 Katie Haas   Rosario (Richard) Meeting          Kayla                                                        2:30   2.5
15-Dec-21 Katie Haas   Rosario (Richard) Draft            Draft jury instrution                                        0:24   0.4
15-Dec-21 Katie Haas   Rosario (Richard) Correspondence Email to chambers re telephone or in person conference         0:06   0.1
15-Dec-21 Katie Haas   Rosario (Richard) Correspondence Emails to opposing counsel, email to expert witness            0:24   0.4
15-Dec-21 Katie Haas   Rosario (Richard) Review           Review prior filings re depositions and email team           0:30   0.5
15-Dec-21 Katie Haas   Rosario (Richard) Review           Review defendants' filing re striking unvaccinated jurors    0:15   0.3
15-Dec-21 Katie Haas   Rosario (Richard) Adminstrative    Update FPTC to do list                                       0:18   0.3
15-Dec-21 Katie Haas   Rosario (Richard) Prep             Prep for final pretrial conference                           4:00   4.0
16-Dec-21 Katie Haas   Rosario (Richard) Prep             Prep for final pretrial conference                           2:00   2.0
16-Dec-21 Katie Haas   Rosario (Richard) Court appearance Final pretrial conference and follow-up team discussion      3:00   3.0
16-Dec-21 Katie Haas   Rosario (Richard) Correspondence Emails with opposing counsel                                   0:15   0.3
16-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Call witness, send internal team email re call               0:12   0.2
17-Dec-21 Katie Haas   Rosario (Richard) Draft            Draft subpoenas and cover letters                            1:00   1.0
17-Dec-21 Katie Haas   Rosario (Richard) Draft            Discuss  and draft letter to court re dismissing Silverman   0:18   0.3
                                                          Meetings with Emma, calling witnesses, create document
17-Dec-21 Katie Haas   Rosario (Richard) Prep             tracking witness logistical arrangements                     1:30   1.5
17-Dec-21 Katie Haas   Rosario (Richard) Meeting          Meeting   with Kayla re assignments                          0:30   0.5
19-Dec-21 Katie Haas   Rosario (Richard) Digest           Defendant deposition digest                                  5:30   5.5
19-Dec-21 Katie Haas   Rosario (Richard) Review           Review redactions to exhibits and send team email            0:24   0.4
19-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Email  to opposing counsel                                   0:12   0.2
20-Dec-21 Katie Haas   Rosario (Richard) Correspondence Emails with investigator, opposing counsel, internal team      0:15   0.3
20-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Call with Nick, Emma, Anna, Kayla, Gerardo                   0:24   0.4
                                                          Review and make objections to defendants' counter-
20-Dec-21 Katie Haas   Rosario (Richard) Prep             designations                                                 1:30   1.5
21-Dec-21 Katie Haas   Rosario (Richard) Prep             Prep for continued FPTC                                      2:30   2.5
21-Dec-21 Katie Haas   Rosario (Richard) Court appearance Continued   FPTC and follow-up internal team call            2:18   2.3
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21-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Email to opposing counsel re meet and confer                    0:06   0.1
21-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Review internal emails                                          0:15   0.3
21-Dec-21 Katie Haas   Rosario (Richard) Adminstrative    Review notes on FPTC, update exhibit list                       0:45   0.8
21-Dec-21 Katie Haas   Rosario (Richard) Review           Review draft of opening                                         0:30   0.5
22-Dec-21 Katie Haas   Rosario (Richard) Digest           Defendant deposition digest                                     4:30   4.5
22-Dec-21 Katie Haas   Rosario (Richard) Meeting          Call with Anna re tasks for today                               0:09   0.2
                                                          Call with Kayla re remote testimony, synching dep videos,
22-Dec-21 Katie Haas Rosario (Richard) Meeting            drafting subpoenas, etc.                                        0:18   0.3
                                                          Meet and confer with opposing counsel and follow-up
22-Dec-21 Katie Haas   Rosario (Richard) Meeting          internal discussion                                             1:15   1.3
22-Dec-21 Katie Haas   Rosario (Richard) Draft            Draft and sign subpoena and cover letter, email to witness      0:18   0.3
23-Dec-21 Katie Haas   Rosario (Richard) Other            Sign and finalize trial subpoenas                               1:00   1.0
23-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Review and send electronic device requests                      0:30   0.5
23-Dec-21 Katie Haas   Rosario (Richard) Review           Review and edit letter to court                                 0:18   0.3
23-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Emails with opposing counsel re redactions                      0:18   0.3
23-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Call with Kayla                                                 0:06   0.1
23-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Calls with Emma                                                 0:15   0.3
27-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Call with Cam                                                   0:12   0.2
27-Dec-21 Katie Haas   Rosario (Richard) Prep             Review alibi witness depositions, draft timeline                4:00   4.0
27-Dec-21 Katie Haas   Rosario (Richard) Review           Review draft opening                                            0:30   0.5
28-Dec-21 Katie Haas   Rosario (Richard) Meeting          Trial prep tasks meeting                                        0:54   0.9
28-Dec-21 Katie Haas   Rosario (Richard) Meeting          Follow-up call with Kayla and Cam re trial prep tasks           0:24   0.4
                                                          Draft letter to court re Alexis Gonzalez testimony, revise in
28-Dec-21 Katie Haas   Rosario (Richard) Draft            response to feedback, finalize                                  1:30   1.5
28-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Emails to expert witnesses and fact witnesses                   0:24   0.4
28-Dec-21 Katie Haas   Rosario (Richard) Correspondence   Emails with opposing counsel and internal emails                0:30   0.5
28-Dec-21 Katie Haas   Rosario (Richard) Meeting          Strategy meeting with Emma, Nick, Anna, Gerardo                 2:30   2.5
29-Dec-21 Katie Haas   Rosario (Richard) Review           Read and discuss email from opposing counsel                    0:15   0.3
                                                          Meeting with Julian, Mo, Gerardo, Kayla re courtroom
29-Dec-21 Katie Haas   Rosario (Richard) Meeting          exhibits                                                        0:45   0.8
29-Dec-21 Katie Haas   Rosario (Richard) Phone Call       Call with Anna, Emma, Nick re letter to court                   0:21   0.4
29-Dec-21 Katie Haas   Rosario (Richard) Review           Review letters to court field by opposing counsel               0:30   0.5
29-Dec-21 Katie Haas   Rosario (Richard) Draft            Research and draft responses to opposing counsel's letters      2:30   2.5
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                                                           Email to and call with chambers re courtroom technology,
29-Dec-21 Katie Haas    Rosario (Richard) Correspondence   internal follow-up call with Emma                                 0:18   0.3
29-Dec-21 Katie Haas    Rosario (Richard) Correspondence   Internal emails re exhibits                                       0:06   0.1
29-Dec-21 Katie Haas    Rosario (Richard) Phone Call       Calls with Kayla                                                  0:24   0.4
29-Dec-21 Katie Haas    Rosario (Richard) Digest           By-topic witness deposition digest                                4:30   4.5
30-Dec-21 Katie Haas    Rosario (Richard) Phone Call       Email to and phone call with fact witness                         0:12   0.2
30-Dec-21 Katie Haas    Rosario (Richard) Prep             Prep with Richard                                                 2:00   2.0
30-Dec-21 Katie Haas    Rosario (Richard) Other            Draft cover letters to fact witnesses re remote testimony         0:21   0.4
30-Dec-21 Katie Haas    Rosario (Richard) Draft            Draft and finalize etter to court re efforts to reach witnesses   0:36   0.6
30-Dec-21 Katie Haas    Rosario (Richard) Prep             Draft direct examination outline for fact witness                 3:30   3.5
31-Dec-21 Katie Haas    Rosario (Richard) Review           Review witness binders and suggest changes                        0:45   0.8
31-Dec-21 Katie Haas    Rosario (Richard) Phone Call       Call with Emma, Anna, Nick, Cam, Gerardo re trial prep            1:30   1.5
31-Dec-21 Katie Haas    Rosario (Richard) Review           Review revised opening                                            0:18   0.3
31-Dec-21 Katie Haas    Rosario (Richard) Phone Call       Call with Cam re exhibit list                                     0:15   0.3
31-Dec-21 Katie Haas    Rosario (Richard) Phone Call       Call to Carlos Maldonado Jr. re trial adjourned                   0:06   0.1
31-Dec-21 Katie Haas    Rosario (Richard) Correspondence   Email to expert re trial adjourned                                0:06   0.1
  3-Jan-22 Katie Haas   Rosario (Richard) Review           Review court's order, send internal email                         0:15   0.3
  4-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Team phone call re next steps                                     0:24   0.4
  4-Jan-22 Katie Haas   Rosario (Richard) Correspondence   Email to witness re adjourning trial                              0:06   0.1
  4-Jan-22 Katie Haas   Rosario (Richard) Review           Review comments on direct examination outline                     0:15   0.3
  5-Jan-22 Katie Haas   Rosario (Richard) Loan             Call with Nick, review Richard's litigation loans for terms       0:21   0.4
  5-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with opposing counsel re trial dates                         0:21   0.4
  5-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with Emma re feedback on direct examination outline          0:24   0.4
  5-Jan-22 Katie Haas   Rosario (Richard) Draft            Draft and revise letter to court re trial dates                   0:24   0.4
  5-Jan-22 Katie Haas   Rosario (Richard) Correspondence   Emails to experts re trial availability                           0:12   0.2
  6-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with Nick re file locations, follow up email                 0:06   0.1
  6-Jan-22 Katie Haas   Rosario (Richard) Review           Review and revise letter to court re trial dates                  0:30   0.5
  7-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with Emma re trial rescheduled                               0:09   0.2
                                                           Call with Emma, Anna, Nick, Kayla, Cam, Gerardo re trial
10-Jan-22 Katie Haas    Rosario (Richard) Phone Call       prep                                                              0:42   0.7
10-Jan-22 Katie Haas    Rosario (Richard) Correspondence   Email to court deputy                                             0:06   0.1
10-Jan-22 Katie Haas    Rosario (Richard) Correspondence   Emails with expert re scheduling                                  0:06   0.1
10-Jan-22 Katie Haas    Rosario (Richard) Correspondence   Email to opposing counsel re requesting court conference          0:06   0.1
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                                                          Review jury charge, voir dire, and send internal email re
10-Jan-22 Katie Haas Rosario (Richard) Review             changes                                                       1:00   1.0
10-Jan-22 Katie Haas Rosario (Richard) Draft              Draft letter to court requesting conference                   0:30   0.5
10-Jan-22 Katie Haas Rosario (Richard) Phone Call         Call with Emma and Cam re trial binders                       0:18   0.3
                                                          Draft outline of direct examination and by-topic digest for
10-Jan-22 Katie Haas   Rosario (Richard) Prep             witness                                                       5:00   5.0
11-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with Emma, Cam, Kayla, Gerardo re trial exhibits         0:12   0.2
11-Jan-22 Katie Haas   Rosario (Richard) Filing           Finalize letter to court requesting conference                0:12   0.2
                                                          Meeting with Emma, Nick, Kayla, Cam, Gerardo re opening
11-Jan-22 Katie Haas   Rosario (Richard) Phone Call       demonstratives                                                0:18   0.3
11-Jan-22 Katie Haas   Rosario (Richard) Correspondence Email to opposing counsel                                       0:06   0.1
                                                          Draft outline of direct examination and by-topic digest for
11-Jan-22 Katie Haas   Rosario (Richard) Prep             witness                                                       4:00   4.0
12-Jan-22 Katie Haas   Rosario (Richard) Prep             Prep for testimony with Richard, Nick, Gerardo                1:15   1.3
12-Jan-22 Katie Haas   Rosario (Richard) Prep             Prep for pretrial conference                                  3:30   3.5
                                                          Call with opposing counsel and court deputy re electronic
12-Jan-22 Katie Haas   Rosario (Richard) Phone Call       submissions and courtroom assignment                          0:12   0.2
12-Jan-22 Katie Haas   Rosario (Richard) Court appearance discussion                                                    1:30   1.5
12-Jan-22 Katie Haas   Rosario (Richard) Correspondence Emails to witnesses re trial date                               0:09   0.2
13-Jan-22 Katie Haas   Rosario (Richard) Review           Review and revise letter to court                             0:12   0.2
13-Jan-22 Katie Haas   Rosario (Richard) Correspondence Email to court deputy re remote testimony                       0:06   0.1
13-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with Emma re trial tasks                                 0:33   0.6
13-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with witness re scheduling                               0:06   0.1
13-Jan-22 Katie Haas   Rosario (Richard) Correspondence Internal emails re trial tasks                                  0:09   0.2
13-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Call with Cam re trial tasks                                  0:12   0.2
13-Jan-22 Katie Haas   Rosario (Richard) Correspondence Emails with vendor re remote testimony location                 0:30   0.5
13-Jan-22 Katie Haas   Rosario (Richard) Draft            Draft trial subpoenas and cover letters                       0:30   0.5
13-Jan-22 Katie Haas   Rosario (Richard) Draft            Draft and revise limiting instructions, send to defendants    1:00   1.0
14-Jan-22 Katie Haas   Rosario (Richard) Court appearance Telephonic conference with court                              0:30   0.5
14-Jan-22 Katie Haas   Rosario (Richard) Phone Call       Internal phone call re adjournment of trial                   0:21   0.4
                                                          Emails and phone calls to witnesses/vendors re adjournment
14-Jan-22 Katie Haas   Rosario (Richard) Correspondence of trial                                                        0:24   0.4
18-Jan-22 Katie Haas   Rosario (Richard) Review           Review investigator invoice                                   0:06   0.1
8-Mar-22 Katie Haas    Rosario (Richard) Correspondence   Internal emails re trial date                                 0:15   0.3
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18-Mar-22 Katie Haas    Rosario (Richard) Correspondence   Emails to experts re trial date                                      0:12   0.2
14-Apr-22 Katie Haas    Rosario (Richard) Correspondence   Internal team email re pretrial deadlines                            0:06   0.1
18-Apr-22 Katie Haas    Rosario (Richard) Correspondence   Email to opposing counsel                                            0:06   0.1
19-Apr-22 Katie Haas    Rosario (Richard) Correspondence   Email to opposing counsel                                            0:06   0.1
27-Apr-22 Katie Haas    Rosario (Richard) Phone Call       Call with opposing counsel and Emma                                  0:18   0.3
                                                           Discuss joint letter with Anna and Emma, draft and revise
 29-Apr-22 Katie Haas   Rosario (Richard) Draft            our portion of joint letter, emails with opposing counsel            1:30   1.5
 4-May-22 Katie Haas    Rosario (Richard) Correspondence Internal emails                                                        0:06   0.1
 5-May-22 Katie Haas    Rosario (Richard) Phone Call       Call with Cam and Emma re trial prep                                 0:12   0.2
 5-May-22 Katie Haas    Rosario (Richard) Correspondence Email to opposing counsel                                              0:12   0.2
 6-May-22 Katie Haas    Rosario (Richard) Meeting          Meeting with Emma and Cam                                            0:30   0.5
 9-May-22 Katie Haas    Rosario (Richard) Review           Review draft demonstrative                                           0:15   0.3
10-May-22 Katie Haas    Rosario (Richard) Phone Call       Call with Cam, call with full NSB team                               0:42   0.7
11-May-22 Katie Haas    Rosario (Richard) Phone Call       Call with Cam re deadlines                                           0:12   0.2
                                                           Meeting with Nick and Emma, follow up emails and review
11-May-22 Katie Haas    Rosario (Richard) Meeting          of court's orders                                                    1:00   1.0
11-May-22 Katie Haas    Rosario (Richard) Correspondence Email to opposing counsel                                              0:06   0.1
12-May-22 Katie Haas    Rosario (Richard) Correspondence Review court's order, internal email                                   0:15   0.3
13-May-22 Katie Haas    Rosario (Richard) Phone Call       Calls with Emma                                                      0:09   0.2
13-May-22 Katie Haas    Rosario (Richard) Draft            Draft joint letter, revise, finalize, and supervise filing           2:30   2.5
                                                           Review email from opposing counsel, internal emails, email
16-May-22 Katie Haas    Rosario (Richard) Correspondence to opposing counsel                                                    0:36   0.6
                                                           Review and respond to draft extension request from
18-May-22 Katie Haas    Rosario (Richard) Review           opposing counsel                                                     0:30   0.5
25-May-22 Katie Haas    Rosario (Richard) Correspondence Calls and emails to witnesses                                          0:30   0.5
25-May-22 Katie Haas    Rosario (Richard) Court appearance Telephonic court conference                                          0:42   0.7
                                                           Gather documents, internal emails, draft joint letter, send
31-May-22 Katie Haas    Rosario (Richard) Correspondence email to opposing counsel                                              1:30   1.5
  3-Jun-22 Katie Haas   Rosario (Richard) Phone Call       Calls with Emma re joint letter                                      0:30   0.5
  3-Jun-22 Katie Haas   Rosario (Richard) Phone Call       Call with opposing counsel                                           0:12   0.2
                                                           Draft, revise, and file joint letter, plus related internal emails
  3-Jun-22 Katie Haas   Rosario (Richard) Filing           and emails to opposing counsel                                       1:30   1.5
                                                           Review defendants letter and related docs, develop argument
  6-Jun-22 Katie Haas   Rosario (Richard) Review           in response                                                          3:00   3.0
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 7-Jun-22 Katie Haas   Rosario (Richard) Draft            Draft, revise, finalize response to defendants letter                2:30   2.5
14-Jun-22 Katie Haas   Rosario (Richard) Meeting          Opening statement feedback session                                   2:15   2.3
16-Jun-22 Katie Haas   Rosario (Richard) Meeting          Onboarding meeting                                                   0:30   0.5
16-Jun-22 Katie Haas   Rosario (Richard) Meeting          Meet and confer with opposing counsel                                0:09   0.2
23-Jun-22 Katie Haas   Rosario (Richard) Draft            Draft, revise, finalize response to alibi witness letter             1:00   1.0
24-Jun-22 Katie Haas   Rosario (Richard) Draft            Draft, revise, finalize response to alibi witness letter             0:30   0.5
24-Jun-22 Katie Haas   Rosario (Richard) Loan             Review loan documents                                                0:30   0.5
                                                          Draft letter to court, internal emails and calls re letter, revise
28-Jun-22 Katie Haas   Rosario (Richard) Draft            letter, finalize letter for filing                                   1:00   1.0
 5-Jul-22 Katie Haas   Rosario (Richard) Meeting          Meeting re subpoenas and tech                                        0:18   0.3
 6-Jul-22 Katie Haas   Rosario (Richard) Meeting          trial team meeting                                                   0:45   0.8
 6-Jul-22 Katie Haas   Rosario (Richard) Correspondence Email to witness and opposing counsel                                  0:18   0.3
11-Jul-22 Katie Haas   Rosario (Richard) Prep             Internal calls, emails, document review for trial prep               1:00   1.0
11-Jul-22 Katie Haas   Rosario (Richard) Phone Call       email                                                                0:15   0.3
                                                          Review filings, have phone call, draft letter, finalize and file
15-Jul-22 Katie Haas   Rosario (Richard) Draft            letter                                                               1:00   1.0
16-Jul-22 Katie Haas   Rosario (Richard) Review           Review newly received discovery materials and draft letter           4:00   4.0
16-Jul-22 Katie Haas   Rosario (Richard) Correspondence Phone call with witness and internal follow up email                   0:12   0.2
17-Jul-22 Katie Haas   Rosario (Richard) Draft            Draft letter to court                                                0:30   0.5
17-Jul-22 Katie Haas   Rosario (Richard) Loan             Review terms of litigation loans, send related emails                1:00   1.0
17-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Calls with Cam re trial prep                                         1:00   1.0
18-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Call with opposing counsel, follow up internal email                 0:18   0.3
18-Jul-22 Katie Haas   Rosario (Richard) Loan             Email to litigation loan company                                     0:12   0.2
18-Jul-22 Katie Haas   Rosario (Richard) Correspondence Emails with court reporters and Cam re pretrial transcripts            0:12   0.2
18-Jul-22 Katie Haas   Rosario (Richard) Review           Finalize letter to court to file                                     0:09   0.2
18-Jul-22 Katie Haas   Rosario (Richard) Meeting          Trial team meeting                                                   1:00   1.0
18-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Call with Emma                                                       0:18   0.3
18-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Call with Cam                                                        0:12   0.2
                                                          Review all of court's rulings re trial practice and procedure,
18-Jul-22 Katie Haas   Rosario (Richard) Review           admissible evidence, etc., and gather info into one document         4:00   4.0
18-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Call w Gerardo                                                       0:12   0.2
19-Jul-22 Katie Haas   Rosario (Richard) Adminstrative    Create list of topics to raise at PTC                                0:12   0.2
19-Jul-22 Katie Haas   Rosario (Richard) Correspondence Emails to opposing counsel and expert witness                          0:18   0.3
19-Jul-22 Katie Haas   Rosario (Richard) Court appearance Pretrial conference                                                  1:00   1.0
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19-Jul-22 Katie Haas Rosario (Richard) Prep               Prep for pretrial conference and trial                           5:30   5.5
19-Jul-22 Katie Haas Rosario (Richard) Filing             Prepare witness and exhibit lists to send to court               2:00   2.0
                                                          Emails to various parties (opposing counsel, witness,
20-Jul-22 Katie Haas   Rosario (Richard) Correspondence litigation loan company)                                           0:30   0.5
20-Jul-22 Katie Haas   Rosario (Richard) Draft            Review documents, research, and draft letter to court            3:00   3.0
20-Jul-22 Katie Haas   Rosario (Richard) Review           list                                                             1:30   1.5
20-Jul-22 Katie Haas   Rosario (Richard) Prep             Trial prep                                                       5:00   5.0
                                                          Meeting, emails, drafting etc related to submission on for
20-Jul-22 Katie Haas   Rosario (Richard) Filing           cause challenges to jurors                                       1:00   1.0
21-Jul-22 Katie Haas   Rosario (Richard) Loan             Review updated terms of litigation loan                          0:24   0.4
21-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Email and call to witness, follow up internal email              0:09   0.2
                                                          Finalizing deposition designation order, including related
21-Jul-22 Katie Haas   Rosario (Richard) Miscellaneous    emails and calls                                                 2:00   2.0
21-Jul-22 Katie Haas   Rosario (Richard) Prep             Trial prep                                                       3:00   3.0
                                                          Review and finalize litigation loan documents for client
22-Jul-22 Katie Haas   Rosario (Richard) Loan             signature                                                        0:30   0.5
22-Jul-22 Katie Haas   Rosario (Richard) Phone Call       Call with witness and follow up internal email                   0:12   0.2
                                                          Draft letter to court re limiting instruction and send to
22-Jul-22 Katie Haas   Rosario (Richard) Draft            defendants, review defendants' portion and draft response        1:30   1.5
                                                          Draft letter to court re designation time allocations and send
22-Jul-22 Katie Haas   Rosario (Richard) Draft            to defendants                                                    0:24   0.4
22-Jul-22 Katie Haas   Rosario (Richard) Filing           Create and finalize filing re court-ordered jury instructions    0:30   0.5
22-Jul-22 Katie Haas   Rosario (Richard) Miscellaneous    Courtroom tech walkthrough                                       0:30   0.5
22-Jul-22 Katie Haas   Rosario (Richard) Prep             Trial prep                                                       6:00   6.0
23-Jul-22 Katie Haas   Rosario (Richard) Prep             Trial prep                                                       4:00   4.0
23-Jul-22 Katie Haas   Rosario (Richard) Draft            Draft letter response re text messages                           1:18   1.3
24-Jul-22 Katie Haas   Rosario (Richard) Prep             Prep for trial                                                   8:00   8.0
25-Jul-22 Katie Haas   Rosario (Richard) Prep             Gather materials at office and transport to courthouse           0:30   0.5
25-Jul-22 Katie Haas   Rosario (Richard) Court appearance Trial                                                            7:00   7.0
25-Jul-22 Katie Haas   Rosario (Richard) Prep             Prep for trial                                                   7:00   7.0
26-Jul-22 Katie Haas   Rosario (Richard) Prep             Gather materials at office and transport to courthouse           0:18   0.3
26-Jul-22 Katie Haas   Rosario (Richard) Court appearance Trial                                                            7:00   7.0
27-Jul-22 Katie Haas   Rosario (Richard) Prep             Prep for trial                                                   8:00   8.0
28-Jul-22 Katie Haas   Rosario (Richard) Prep             Prep for trial                                                   8:30   8.5
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 29-Jul-22 Katie Haas   Rosario (Richard) Prep             Prep for trial                                                   10:30    10.5
 30-Jul-22 Katie Haas   Rosario (Richard) Prep             Prep for trial                                                    4:30     4.5
 31-Jul-22 Katie Haas   Rosario (Richard) Prep             Trial prep                                                       12:15    12.3
 1-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather materials at office and transport to courthouse            0:30     0.5
 1-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             7:00     7.0
 1-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial prep                                                        7:30     7.5
 2-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather materials at office and transport to courthouse            0:18     0.3
 2-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             7:00     7.0
 2-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial prep                                                        8:00     8.0
 3-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather materials at office and transport to courthouse            0:24     0.4
 3-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             7:00     7.0
 3-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial prep                                                        8:00     8.0
 4-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather materials at office and transport to courthouse            0:36     0.6
 4-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             7:00     7.0
 4-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial prep                                                        2:00     2.0
 5-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial prep                                                        8:00     8.0
 6-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial prep                                                        9:30     9.5
 7-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial Prep                                                       13:30    13.5
 8-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             7:00     7.0
 8-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather materials at office and transport to court                 0:18     0.3
 8-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial Prep                                                        8:00     8.0
 9-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather materials at office and transport to court                 0:12     0.2
 9-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             7:00     7.0
 9-Aug-22 Katie Haas    Rosario (Richard) Prep             Trial Prep                                                        8:00     8.0
10-Aug-22 Katie Haas    Rosario (Richard) Prep             Gather  materials at office and transport to court                0:30     0.5
10-Aug-22 Katie Haas    Rosario (Richard) Court appearance Trial                                                             2:30     2.5
11-Aug-22 Katie Haas    Rosario (Richard) Research         Research deadlines for post-trial motions and fee petition        0:30     0.5

                                                                                                                        Total       663.4
